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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                  Case No. 22-CR-115-JFH

RICHARD DALE DEETER, JR.,
DONALD B. PEARSON,
JONNA ELISE STEELE,
JOHNNY WESLEY BOYD SPARKS,
a/k/a “J5,”
IZABELLA MARIE BOLING, a/k/a
“Turbo,”
NICOLE COX,
a/k/a “Nicole Michelle Jenner,”
a/k/a “Nicole Michelle Cox,”
a/k/a “Nicole Patterson,”

                     Defendants.

                     Joint Report Regarding Status of Discovery

     The United States of America and defendant Johnny Wesley Boyd Sparks by and

through appointed counsel pursuant to this Court’s September 29, 2022 Scheduling

Order (Dkt. #92), file this Joint Report Regarding Status of Discovery and

respectfully show the Court as follows:

     A. Summary of Disclosed Discovery

     The Parties can confirm that as of December 12, 2022, 17,283 pages of bate

stamped discovery have been disclosed, including written reports, financial records,

search warrants, and Grand Jury transcripts. In addition, social media downloads,

photographic files, videos of witness interviews, and phone downloads have been
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disclosed.

   B. Pending Discovery Material

   The government is awaiting delivery of body cam footage of the arrest of

defendant Pearson and it will be promptly disclosed when ready.

   Dated this 12th day of December 2022.



                                      Respectfully submitted,

                                      CLINTON J. JOHNSON
                                      UNITED STATES ATTORNEY


                                      /s/ David A. Nasar
                                      David A. Nasar, NY Reg. No. 4222568
                                      Assistant United States Attorney
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                                      Tulsa, Oklahoma 74119
                                      918-382-2700

                                      /s/ Jeffrey Williams
                                      Jeffrey Williams
                                      850 W. Adams Street Suite 201
                                      Phoenix, AZ 85007
                                      602-382-2700
                                      Attorney for Johnny Wesley Boyd Sparks


                          CERTIFICATE OF SERVICE


        I hereby certify that on the 12th day of December, 2022, I electronically
transmitted the foregoing document to the Clerk of Court using the ECF System for
filing and transmittal of a Notice of Electronic Filing.



                                      /s/ David A. Nasar
                                      David A. Nasar

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